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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

               Plaintiff,

       vs.                                           Case No. 00-cr-40101-JPG

BRAD TAYLOR,

               Defendant.


                               MEMORANDUM AND ORDER

       This matter comes before the Court on defendant Brad Taylor’s motion for stay or

modification of fine (Doc. 682).

       After a three-day trial, a jury found Taylor guilty of (1) Count One - conspiring to

distribute and possess with intent to distribute crack cocaine in an amount exceeding five grams;

and (2) Count Twelve – distribution of a mixture and substance containing cocaine (Docs. 232-

34). With an offense level of 38 and criminal history category of VI, Taylor’s sentencing range

was 360 months to life for Count One and 360 months for Count Twelve. Taylor’s supervised

release range was up to eight years for Count One and up to six years for Count Twelve. His

fine range was $25,000 to $6,000,000. On August 20, 2001, the Honorable G. Patrick Murphy

sentenced Taylor to: (1) 377 months imprisonment on Count One and 360 months imprisonment

on Count Twelve, to run concurrently; (2) eight years supervised release on Count One and six

year supervised release on Count Twelve, to run concurrently; (3) a $10,000 fine ($5,000 on each

count); and (4) a $200 special assessment ($100 on each count) (Doc. 357). Payment on

Taylor’s monetary penalties was due in full immediately (Doc. 357).
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       Taylor now asks the Court to modify his fine payments. Taylor, who is currently

incarcerated in the Bureau of Prisons (“BOP”), participates in the BOP’s Inmate Financial

Responsibility Program through which must make payments of $50.00 per month. Taylor

contends the payments are causing a hardship on his friends and family who send money to him

and on himself because he has no institutional job.

       Where the Court has entered “[a] judgment for a fine which permits payments in

installments” the Court may modify those payments upon “any material change in the

defendant’s economic circumstances.” 18 U.S.C. § 3572 (d)(3). The statute provides no method

by which the Court may modify a fine to be paid in a lump sum. United States v. Cobb, 41 F.

App’x 840, 841 (7th Cir. 2002).

       Here, because the Court ordered Taylor’s fine be paid in a lump sum, the Court has no

jurisdiction to modify his fine. Taylor cites to 18 U.S.C. § 3573(2) as authority for this Court to

modify his fine. That statute, however, is only applicable “[u]pon petition of the Government.”

18 U.S.C. § 3573(2). Taylor also cites to United States v. Hortman, 2012 U.S. Dist. Lexis

143158 (W.D. Wis. Oct. 3, 2012) in support of his contention that this Court has jurisdiction to

modify his fine. The judgment in Hortman, however, permitted payments in installments rather

than a lump sum.

       Accordingly, the Court DENIES Taylor’s motion (Doc. 682).


IT IS SO ORDERED.

DATED: December 2, 2013

                                                             s/ J. Phil Gilbert
                                                             J. PHIL GILBERT
                                                             DISTRICT JUDGE




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